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 7
 8                             UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
10
11
12
13
        NEMAN BROTHERS & ASSOC.,                      Case No.: 2:20-cv-11181-CAS-JPR
        INC., a California Corporation;
14                                                    NEMAN BROTHERS & ASSOC.,
                    Plaintiff/Counter-Defendant,      INC.’S MOTION FOR SUMMARY
15
                                                      JUDGMENT OR ADJUDICATION
16                  vs.
17
        INTERFOCUS, INC., a California                Date: August 23, 2021
18      Corporation, et al.,                          Time: 10 a.m.
                   Defendant/Counter-Claimant         Courtroom 8D
19                                                    Honorable Judge Christina A. Snyder
20
21
22
23     TO THIS COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

24            NOTICE IS HEREBY GIVEN THAT on August 23, 2021 before the Honorable

25     Christina A. Snyder of the United States District Court for the Central District of

26     California, in Courtroom 8D of the courthouse located at 350 West 1st Street, Los

27     Angeles, California 90012, Plaintiff Neman Brothers & Assoc. Inc. (“NB” or “Plaintiff”)

28     will and hereby does move, pursuant to Fed. R. Civ. P. § 56, for an order granting


                                        1
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 1     summary judgment in favor of Plaintiff on the grounds that there are no triable issues of
 2     facts regarding Plaintiff’s claims against Defendant INTERFOCUS, INC., (“Interfocus”
 3     or “Defendant”).
 4            In the alternative, if for any reason summary judgment is not granted, Plaintiff will
 5     and hereby does move the Court for an order adjudicating each of the following issues:
 6     (1) Plaintiff is the owner of the three Subject Designs at issue (“Subject Designs”): (2)
 7     Interfocus’s copying is established by showing (2-1) Interfocus actually accessed to the
 8     Subject Designs, (2-2) the Subject Designs and the print designs (“Infringing Designs”)
 9     on the Interfocus’ garments (“Infringing Garments”) are either strikingly similar and/or
10     (2-3) the Subject Designs and the Infringing Designs are substantially similar and the
11     Defendant had reasonable opportunity to access to the Subject Designs: and (3) Plaintiff
12     is entitled to recover statutory damages against Interfocus as a willful infringer or an
13     innocent infringer.
14            Under the L.R. 7-3, the parties through their counsels on July 6, 2021
15     telephonically conferred on the issues surrounding this motion. Declaration of Chan
16     Yong Jeong (“Jeong Decl.”) ¶ 4.
17            This Motion is based on this Notice of Motion and Motion, the accompanying
18     Memorandum of Points and Authorities, the Statement of Uncontroverted Facts, the
19     declarations filed herewith, the attached Exhibits, the pleadings and papers filed in this
20     action, and such further argument and matters as may be offered at the time of the
21     hearing of this Motion.
22
       Dated: July 26, 2021                       Respectfully submitted,
23
                                                  /s/ Chan Yong Jeong___
24
                                                  Chan Yong Jeong, Esq.
25                                                Attorney for Plaintiff
                                                  Neman Brothers & Assoc. Inc.
26
27
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 1
                       MEMORANDUM OF POINTS AND AUTHORITIES

 2
                                     I. STANDARD OF REVIEW
 3
              Summary judgment must be granted if the evidence shows that there is no genuine
 4
       issue as to any material fact. Fed R. Civ. P. § 56(c); Tarin v. County of Los Angeles, 123
 5
       F.3d 1259, 1263 (9th Cir. 1997). The moving party must shift the burden by presenting
 6
       evidence to establish the absence of any issues of material fact, and the non-moving party
 7
       must provide specific facts that create a material issue. Celotex Corp. v. Catrett, 477 U.S.
 8
       317 (1986).
 9
              Once the burden is shifted, a mere scintilla of evidence is insufficient; “there must
10
       be evidence on which the jury could reasonably find for the [non-movant].” Id. (quoting
11
       Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986)). To avoid entry of summary
12
       judgment, the opposing party must produce specific material evidence capable of
13
       “affect[ing] the outcome of the suit under the governing law.” Anderson v. Liberty Lobby,
14
       Inc., 477 U.S. 242, 247-48 (1986). “Factual disputes that are irrelevant or unnecessary will
15
16
       not be counted.” Id. In addition, the non-moving party must “identify with reasonable

17     particularity the evidence that precludes summary judgment.” Keenan v. Allan, 91 F.3d

18     1275, 1279 (9th Cir. 1996). A non-moving party is required to produce “evidence on which

19     the jury could reasonably find for” the non-moving party. Id.
20            To meet its burden, the non-moving party’s evidence must be substantive, a
21     “scintilla of evidence or evidence that is merely colorable or not significantly probative
22     does not present a genuine issue of, material fact.” Addisu v. Fred Meyer, Inc. 198 F. 3d
23     1130, 1134 (9th Cir. 2000). And “uncorroborated and self-serving testimony,” without
24     more, will not create a “genuine issue” of material fact precluding summary judgment.
25     Villiarimo v. Aloha Island Air Inc., 281 F.3d 1054, 1061 (9th Cir. 2002).
26            Further, “[t]he non-movant’s burden to demonstrate a genuine issue of material fact
27     increases when the factual context renders its claim implausible.” Avery Dennison Corp.
28


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 1     v. Acco Brands, Inc., 2000 U.S. Dist. LEXIS 3938, *10-11 (C.D. Cal. Feb. 22, 2000);
 2     Matsushita Electric Industrial Co. v. Zenith Radio Corp., 475 U.S. 574, 587, 106 S. Ct.
 3     1348, 1356, 89 L. Ed. 2d 538 (1986). Thus, “mere disagreement or the bald assertion [by
 4     the nonmovant] that a genuine issue of material fact exists” does not preclude summary
 5     judgment. Harper v. Wallingford, 877 F.2d 728, 731 (9th Cir. 1989).
 6
 7                                          II. ARGUMENTS
                Infringement of a copyright occurs (1) when any one of the exclusive rights of a
 8
       copyright owner has been violated. 17 U.S.C. § 501 (West 2021). The five exclusive
 9
       rights, sometimes referred to as the "bundle of rights" belonging to an owner, are the
10
       rights to:
11
                      1. Reproduce the work.
12
                      2. Prepare derivative works based on the copyrighted work.
13
                      3. Distribute copies to the public.
14
                      4. Perform the work publicly.
15
                      5. Display the copyrighted work publicly. 17 U.S.C. § 106 (West 2021).
16
17
                To establish infringement, a plaintiff need only demonstrate that the alleged

18     infringers violated at least one exclusive right granted to copyright holders under 17

19     U.S.C. § 106. See 17 U.S.C. § 501(a) (West 2019). Infringement occurs when alleged

20     infringer engages in activity listed in § 106. Baxter v. MCA, Inc., 812 F.2d 421, 423 (9th

21     Cir. 1987).
22              To succeed on its copyright infringement claims, Plaintiff must show: (1)
23     ownership of the subject design; and (2) infringement—Defendant’s copying elements
24     of the Subject Design. Three Boys Music Corp. v. Bolton, 212 F.3d 477, 481 (9th Cir.
25     2000).
26     //
27     //
28


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 1     1. Plaintiff Owns the Subject Design.
 2            A copyright registration certificate constitutes prima facie evidence of the validity
 3     of the copyright and all facts stated on the certificates, including the statements relating to
 4     originality and Plaintiff’s ownership of the designs. 17 U.S.C. § 410(c) (West
 5     2019); Gold Value International Textile, Inc. v. Sanctuary Clothing, LLC, 925 F.3d
 6     1140, 1144 (9th Cir. 2019), cert. denied, 140 S. Ct. 1294 (2020); 9th CIRCUIT MODEL
 7
       JURY INSTRUCTION 17.5. Defendant bears the burden of rebutting the presumption of
 8
       validity. Hamil America Inc. v. GFI, 193 F.3d 92, 98 (2d Cir. 1999). To invalidate this
 9
       prima facie showing, Defendants must prove that the applicant defrauded the Copyright
10
       Office, and that the putative fraud related to the underlying ability to register the work.
11
       See Masquerade Novelty, Inc. v. Unique Indus., Inc., 912 F.2d 663, 668 n.5 (3d Cir.
12
       1990) (“that an inadvertent omission from a registration application will render a
13
       plaintiff’s copyright incapable of supporting an infringement action has not gained
14
       acceptance with the courts”)’ 2-7 Melville B. Nimmer & David Nimmer, Nimmer on
15
       Copyright § 7.20[B], n.19 (1999) (a misstatement in the registration application does not
16
       “render the registration certificate incapable of supporting an infringement action”).
17
18
              In this case, for competitiveness in the market, Neman Brothers routinely develops

19     and registers new designs for copyrights. Neman Decl. ⁋⁋5-7. Along the line, Neman

20     Brothers as the owner has registered the Subject Designs 1-3 (Neman Decl. ⁋⁋10-13,

21     Exhibits 1-6), which makes a prima facie showing for presumption that it owns the

22     Subject Design, and the burden shifts to Interfocus to rebut such a presumption. Lamps
23     Plus, Inc., 345 F. 3d at 1144 (9th Cir. 2003).
24            However, Interfocus failed to present any evidence for such rebuttal, rather, the
25     evidence below strongly show that NB owns the Subject Design. For example, in
26     response to the interrogatories asking about Interfocus’ or its vendor’s independent
27     creation and any prior work, Interfocus stated only “it is informed and believes the
28     designs at issue are very similar to independently created pre-existing designs…” which


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 1     has no evidentiary value at all. (emphasis added) Jeong Decl. ⁋35; Exhibit 42, Responses
 2     to Interrogatories No. 1-5. Further, Interfocus never produced any facts, or documents
 3     supporting such information or belief in the discovery. Jeong Decl. ⁋35.
 4            Accordingly, Neman Brothers has made the prima facie showing for the
 5     presumption of the validity of the copyrights and all the facts stated in the registration,
 6     but Interfocus failed to rebut the presumption.
 7
 8
       2. Defendants Copied the Subject Design.
 9
              Plaintiff should show that Defendant copied original aspects of its copyrighted
10
       design without its permission. L.A. Printex Indus, Inc. v. Aeropostale, Inc. 676 F.3d 841,
11
       846 (9th Cir. 2012). In addition to showing that a defendant actually copied the subject
12
       design, there are two ways to establish the “presumption” of Defendant’s copying when
13
       there is no direct evidence of copying by presenting evidence demonstrating (1) striking
14
       similarities of the two designs: or (2) substantial similarities in the inverse-ratio
15
       sliding scale with the defendants’ reasonable opportunity to access to the plaintiff’s
16
       work. L.A. Printex Indus, Inc. v. Aeropostale, Inc. 676 F.3d at 846 (9th Cir. 2012)
17
18
       (quoting Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991)); Reyher v.

19     Children's Television Workshop, 533 F.2d 87, 90 (2d. Cir. 1976).

20
21            (1) Interfocus Actually Copied the Subject Designs.
22            Interfocus had “actual” access to the Subject Designs 1 and 2, at least through the
23     Prior Case. Moreover, Interfocus’ Operations Director Weiwei Le admitted she was in
24     charge of legal issues by working closely with the U.S. attorneys and also in charge of
25     operations of the Interfocus website patpat.com during the last five years which period
26     include the time for the Prior Case. Moreover, Interfocus response to Interrogatories
27     admitted Interfocus reviews and picks the garments, and controls the procedure of
28     uploading, displaying and selling the garments. Jeong Decl. ⁋36–37. In the ordinary


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 1   procedures, Interfocus orders the garments it “likes” after it reviews the sample pictures,
 2   and do the quality inspection, and start sales of the garments. Jeong Decl. ⁋36; Exhibit
 3   42, Responses to Interrogatory No. 6. Interfocus further admitted it controlled the display
 4   procedure of the garments by stating Interfocus’ vendors do not upload the information
 5   relating to the Infringing Garments. Jeong Decl. ⁋37; Exhibit 42, Responses to
 6   Interrogatory No. 7.
 7
           In addition, as discussed above, the comparisons of the care tags of the Prior
 8
     Infringing Garments 1 and 2 with the same of the Infringing Garments 1 and 2 show the
 9
     Infringing Garments at issue in this case are not part of the prior production of the Prior
10
     Infringing Garments. Neman Decl. ⁋34; Exhibits 39 and 40. It was a new production that
11
     happened in July 2020, which procedure started from May 2020 which was less than two
12
     months after the settlement on March 23, 2020 in the Prior Case. Neman Decl. ⁋34;
13
     Exhibits 39 and 40.
14
           The above clearly shows Interfocus soon after signing the Prior Settlement
15
     Agreement on March 23, 2020, promptly started the sampling procedure, reviewed the
16
     samples of the Infringing Garments 1 and 2, ordered them again as Interfocus liked it in
17
18
     May 2020 (Exhibits 39 and 40), uploaded the garment pictures with the information on

19   the website on July 1, 2020 for Infringing Garment 1 and June 19, 2020 for Infringing

20   Garment 2 and sold them until September 16, 2020. Exhibit 33. Even worse, it turned out

21   the Interfocus continued to sell the Prior Infringing Garment 1 and the Prior Infringing

22   Garment 2 even after the Prior Settlement until September 2020. Jeong Decl. ⁋38; Exhibit
23   33.
24         The above shows it is undisputed soon after the settlement of the Prior Case where
25   the Subject Designs 1 and 2 were litigated, Interfocus again reviewed, chose, ordered,
26   uploaded, displayed and sold the Infringing Garments 1 and 2, which sufficiently
27   establishing copying after the actual access.
28


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 1          (2) The Subject Designs And the Infringing Designs Are Strikingly Similar.
 2          Even if the evidence of Defendants’ access were disputed, when two designs are
 3   “so strikingly similar as to preclude the possibility of independent creation, copying may
 4   be proved without a showing of access.” Lipton v. Nature Co., 71 F.3d 464, 471 (2d Cir.
 5   1995) (citing Smith, 84 F.3d at 1220; See also Baxter, 812 F.2d at 424, n.2 (“Proof of
 6   striking similarity is an alternative means of proving ‘copying’ where proof of access is
 7   absent”), cert. denied, 484 U.S. 954 (1987)). Striking similarity exists when the
 8
     similarities are sufficiently unique or complex as to make it unlikely that it was
 9
     independently created. Selle v. Gibb, 741 F.3d 896, 903 (7th Cir. 1984). A plaintiff “must
10
     demonstrate that such similarities are of a kind that can only be explained by copying,
11
     rather than by coincidence, independent creation, or prior common source.” Testa v.
12
     Janssen, 492 F. Supp. 198, 203 (W.D.Pa 1980) (quoting Stratchborneo v. Arch Music
13
     Corp., 357 F. Supp. 1393, 1403 (S.D.N.Y. 1973)).
14
            Selle v. Gibb identified six factors for determining striking similarity:
15
     (1) the "striking similarity" is not merely a function of the number of identical notes that
16
     appear in both compositions: (2) the uniqueness of the sections that are asserted to be
17
     similar: (3) if the complaining work contains an unexpected departure from the normal
18
19
     metric structure or if the complaining work includes what appears to be an error and the

20   accused work repeats the unexpected element or the error, then it is more likely that there

21   is some connection between the pieces: (4) if the similar sections are particularly

22   intricate, then again it would seem more likely that the compositions are related: (5) some

23   dissimilarities that may be particularly suspicious, such as inversion and substitution of
24   certain words in a "crude effort to give the appearance of dissimilarity," are themselves
25   evidence of copying: and (6) the similarity should appear in a sufficiently unique or
26   complex context as to make it unlikely that both pieces were copied from a prior common
27   source. Selle v. Gibb, 741 F.2d 896, 903-904 (7th Cir. 1984).
28          Essentially, Defendants have only engaged in a “crude attempt” to create


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 1   dissimilarity as per the fifth Selle factor, or this distinction is otherwise the result of
 2   “lower-quality techniques and machinery”, both of which weigh toward a finding of
 3   striking similarity, and therefore copying. Selle, 741 F. 2d at 903-04; Malibu Textiles, 922
 4   F. 3d 946, 955 (9th Cir. 2019).
 5
 6          The 9th Circuit Court in Unicolors, Inc. v. Urban Outfitters, Inc. held;
 7                  We conclude that a district court may grant summary judgment for

 8                  plaintiffs on the issue of copying when the works are so overwhelmingly

 9                  similar that the possibility of independent creation is precluded. The works

10                  at issue in this case meet this standard. The objective similarities between

11                  the works are stark: the shapes, motifs, arrangements, spacing, and colors

12
                    of the images in each design are nearly identical. (emphasis added) 853
                    F.3d 980, 987 (9th Cir. 2017), for additional opinion, see, 2017 WL
13
                    1247134 (9th Cir. 2017).
14
15
             The shapes of the elements are not about simple generic triangles or squares, but
16
     detailed descriptions flowers and leaves. Even the same person cannot draw this much of
17
     detail in exactly the same way twice. This cannot be a co-incidence that an
18
     independently created work happens to be the same. “[T]he possibility of independent
19
     creation is precluded.”
20
             The Selle factors weigh in favor of finding striking similarity. As shown below,
21
     each distinct element in the Infringing Design is nearly identical to the corresponding
22
     description in the Subject Design down to the most intricate details. Each and every
23
     single element of the Infringing Design is nearly an exact replica of an original element
24
     of the Subject Design. Both have same exact combinations, shapes, and images.
25
            The side-by-side comparisons of the Subject Designs and the Infringing Garments
26
27
     reveals they are virtually identical in most of the objective details of the elements forming

28   the designs and even arrangements of the elements. Neman Decl. ⁋29. The chance for the


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 1   two independently created designs to happen to have the same elements identical in
 2   details and the same arrangement of those elements would be far less than one in a
 3   million, in other words impossible. Neman Decl. ⁋29.
 4        The first page of Exhibit 23 shows most of the elements, if not all, on the Infringing
 5   Garment 1 are copied from the Subject Design 1. Neman Decl. ⁋30. The second page
 6   shows the major motif (indicated in red circles) having the main elements arranged in a
 7
     certain way are identical while there were some crude efforts to give the appearance of
 8
     dissimilarity on the Infringing Design 1 by taking out a few small leaves or flowers.
 9
     Neman Decl. ⁋30. Not only the arrangement, the shapes of the flower, flower buds,
10
     stems, leaves, and color shadings are also the same. Neman Decl. ⁋30. These are not a
11
     combination of generic shapes like triangle, circle, square or line, but about a very
12
     detailed hand-drawn and intricate description of flowers, stems, leaves, and their
13
     arrangement. Neman Decl. ⁋30. No designer would not be able to draw the design twice
14
     in the exact same way in such details without seeing it and copying it. Neman Decl. ⁋30.
15
     This part standing alone forms an original and protectible element, and the Infringing
16
     Garment 1 copied it. Neman Decl. ⁋30. Even the elements describing small flowers,
17
18
     small leaves, and small stems, as well as their shapes, shades, locations, colors, directions

19   and arrangements are strikingly identical, which cannot possibly be a coincidence of two

20   independently created design having such identities in every details. The second and the

21   third pages of Exhibit 23 also show the remaining elements on Infringing Garment 1 were

22   nothing but the result of flipping or rotating the elements of the Subject Design 1. Neman
23   Decl. ⁋30.
24        The same is true about the Infringing Garment 2. Neman Decl. ⁋31. On the first
25   page, the circles in different colors indicate which parts are corresponding to each other
26   on the two. Exhibit 24. Most of the elements, if not all, on the Infringing Garment 2 are
27   from the elements of the Subject Design 2. Neman Decl. ⁋31; Exhibit 24. The second
28   page of Exhibit 24 shows the biggest element as the main motif, circled in red on page 1,


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 1   are identical in shapes, arrangements, directions, and locations while there were some
 2   crude efforts to give the appearance of dissimilarity on some leaves or flowers. Neman
 3   Decl. ⁋32. Such also appear to be the result of lowering the printing cost for the
 4   garment’s low pricing by simplifying some details and colors of the elements. Neman
 5   Decl. ⁋32. Pages 3, 4 and 5 also show the remaining elements used on the Infringing
 6   Garment 2 are nothing but a rotated or flipped version of the elements on the Subject
 7
     Design 2. Neman Decl. ⁋32.
 8
          The first page of Exhibit 25 again shows the main motifs on the Infringing Garment
 9
     3 are copies of the elements on the Subject Design 3. Neman Decl. ⁋33. The second page
10
     shows all elements of the main motif circled in red on the first page are the same as the
11
     elements of the Subject Design 3. Neman Decl. ⁋33. The third page also shows the
12
     remaining elements are in fact a rotated or flipped version of the element on Subject
13
     Design 3. Neman Decl. ⁋33.
14
          The above clearly establish the Subject Designs and the designs printed on the
15
     Infringing Garments are “virtually identical”, which shows more than “striking
16
     similarity” for the presumption for excluding the possibility of independent creation.
17
18
     Further, as discussed above, Interfocus failed to present any evidence for independent

19   creation at all.

20
21          (3) The Subject Designs And the Infringing Designs Are Substantially Similar

22
              And Interfocus Had Reasonable Opportunities to View the Subject Designs.
            Copying is presumed upon showing that (1) that the defendant had reasonable
23
     opportunity to access to the plaintiff’s work and (2) that the works are substantially
24
     similar.” L.A. Printex Indus, Inc. v. Aeropostale, Inc. 676 F.3d 841, 846 (9th Cir. 2012)
25
     (quoting Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991)). In the
26
     Ninth Circuit, the access and substantial similarity elements of infringement are
27
     “inextricably linked” by an inverse ratio rule. 9th CIRCUIT MODEL JURY
28


                                     14
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 1
     INSTRUCTION 17.16. See also Benay v. Warner Bros. Entm’t, Inc., 607 F.3d 620, 625
     (9th Cir. 2010) (“Under the ‘inverse ratio’ rule, if a defendant had access to a copyrighted
 2
     work, the plaintiff may show infringement based on a lesser degree of similarity between
 3
     the copyrighted work and the allegedly infringing work.”). In Skidmore v. Led Zeppelin,
 4
     905 F.3d 1116, 1125-30 (9th Cir. 2018), the Ninth Circuit provided "To prove ‘unlawful
 5
     appropriation,’ the works must share substantial similarities and those similarities must
 6
     involve parts of the plaintiff’s work that are original and therefore protected by
 7
     copyright." (emphasis added) Skidmore, 905 F.3d at 1125 (citing Rentmeester v. Nike,
 8
     Inc., 883 F.3d 1111, 1117 (9th Cir. 2018)).
 9
            The originality is presumed because the United States Copyright Office
10
     granted Plaintiff a Certificate over the Subject Design, and "[s]ince originality of the
11
     author is a necessary condition to the validity of the copyright, it follows that a
12
     certificate of registration properly obtained within the prescribed five year period
13
     constitutes prima facie evidence of the author's originality." 3 NIMMER ON
14
     COPYRIGHT § 12.11[A] (1989).
15
            For copyright purposes, the required level of creativity is "minimal," and
16
     "sweat of the brow" in creation is "wholly irrelevant." CDN, Inc. v. Kapes, 197 F.3d
17
     1256, 1259-61 (9th Cir. 1999). The circuit has recognized originality or creativity in a
18
     variety of works, including in: a price list that reflected selection and weighing of
19   price date, see id.; a musical composition with the same pitch and sequence as
20   another work, but with a nonidentical meter, tempo or key, see Swirsky, 376 F.3d at
21   851; and a picture, based on its subject, posture, background, lighting, or
22   Perspective. See United States v. Hamilton, 583 F.2d 448, 452 (9th Cir. 1978); see
23   also Rentmeester v. Nike, Inc., 883 F.3d 1111, 1121 (9th Cir. 2018) (noting that
24   photographer’s "selection and arrangement of [creative] elements produced an image
25   entitled to the broadest protection a photograph can receive").
26
            (3-1) Substantial Similarity
27          The Ninth Circuit applies a two-part test in determining substantial similarity: the
28   extrinsic test and the intrinsic test. Three Boys Music Corp., 212 F.3d at 485. The


                                     15
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 1
     extrinsic test “considers whether two works share a similarity of ideas and expression
     based on external, objective criteria.” Smith, 84 F.3d at 1218. In the context of comparing
 2
     fabric designs, the extrinsic test examines “the similarities in their objective details in
 3
     appearance, including, but not limited to, the subject matter, shapes, colors, materials,
 4
     and arrangement of the representations.” L.A. Printex Indus., Inc. 676 F.3d at 849
 5
     (citing Cavalier v. Random House, Inc., 297 F.3d 815, 826 (9th Cir. 2002)) (internal
 6
     quotations omitted). The intrinsic test, on the other hand, asks “whether the ordinary,
 7
     reasonable person would find the total concept and feel of the works to be substantially
 8
     similar.” Id. (quoting Pasillas v. McDonald’s Corp., 927 F.2d 440, 442 (9th Cir. 1991))
 9
     (internal quotations omitted).1
10
              “It is entirely immaterial that, in many respects, plaintiff’s and defendant’s
11
     works are dissimilar, if in other respects, similarity as to a substantial element of
12
     plaintiff’s work can be shown.” (emphasis added) L.A. Printex Ind., 676 F. 3d. at 851
13
     (citing 4 NIMMER ON COPYRIGHT § 13.03[B] [1][a]). Thus, an analysis should
14
     focus on the elements that are similar, not on the elements that are dissimilar. See 4
15
     NIMMER ON COPYRIGHT § 13.03[B] [1][a] (2017).
16
              “Fragmented literal similarity exists where the defendant copies a portion of the
17
     plaintiff's work exactly or nearly exactly, without appropriating the work's overall
18
     essence or structure.” Newton v. Diamond, 388 F.3d 1189, 1195 (9th Cir. 2004). “[I]t
19   is enough that substantial parts were lifted; no plagiarist can excuse the wrong by
20   showing how much of his work he did not pirate.” (emphasis added) Sheldon v.
21   Metro-Goldwyn Pictures Corp., 81 F.2d 49, 56 (2d Cir. 1936). Along the same line, the
22   Ninth Circuit Court also held “Even if a copied portion be relatively small in
23   proportion to the entire work, if qualitatively important, the finder of fact may
24   properly find substantial similarity.” (emphasis added) Shaw v. Lindheim, 919 F.2d 1353,
25   1363 (9th Cir. 1990).
26            An infringing design can be substantially similar even if the allegedly copied
27
28   1
         See also Apple Computer, Inc. v. Microsoft Corp., 35 F.3d 1435, 1442 (9th Cir. 1994).


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 1
     material constitutes only a small portion of the challenged work. Harold Lloyd
     Entm't, Inc. v. Moment Factory One, Inc., No. LACV1501556JAKMRWX, 2015 WL
 2
     12765142, at *5 (C.D. Cal. Oct. 29, 2015). Copying of a “major sequence” is enough to
 3
     find substantial similarity. Id. (citing Univ. Pictures Co. v. Harold Lloyd Corp., 162 F. 2d
 4
     354, 361 (9th Cir. 1947). Copying of these key elements of Plaintiff’s design is a
 5
     reproduction of the “major sequences” and most “qualitatively important” aspects
 6
     of Plaintiff’s work. See Harold Lloyd Entm’t, Inc., 2015 WL 12765142, at *5.
 7
            As discussed above, in this case, most of the objective details of the elements in
 8
     their shapes, shades, locations, arrangements and colors are identical which easily passes
 9
     the “extrinsic test”. Exhibits 23-25. Further, due to the virtual identity of the elements,
10
     the total concept and feel of the works are also the same. Exhibits 23-25.
11
            Accordingly, the above not only satisfies the substantial similarity test but also
12
     lower the needs to show the access in the “inverse-ratio” analysis.
13
            (3-2) Access
14
            Access can be shown if a Defendant had a reasonable opportunity to view, read,
15
     hear, or copy the plaintiff’s work before the defendant’s work was created. 9th CIRCUIT
16
     MODEL JURY INSTRUCTION 17.16. One way to demonstrate access is by showing
17
     plaintiff’s work was widely disseminated. Id. Given that there is no evidence of
18
     independent creation, in addition to the strong showing of the similarities, there is no
19
     need to prove access. Even assuming arguendo, given the strong showing of similarities,
20
     Plaintiff in this case should prove access, the level of access required in the inverse ratio
21
     analysis is very low.
22          Proof of access requires an opportunity to view the plaintiff’s work. L.A. Printex,
23   676 F.3d at 846. To prove access, a plaintiff must show a reasonable possibility that the
24   defendant had a chance to view the protected work. Id. Absent direct evidence of access,
25   a plaintiff can prove access using circumstantial evidence of either (1) a chain of events
26   linking the work and defendant’s access to that work, or (2) widespread dissemination of
27   the work. Three Boys Music Corp., 212 F.3d at 482.
28


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 1          In this case, as discussed above, Interfocus had actual access at least through the
 2   Prior Case, which establishes more than a reasonable possibility. Further, the striking
 3   similarities of the works also presume the access and copying.
 4          In addition, NB widely disseminated the design by circulating the sample and
 5   selling fabrics bearing the designs at issue.
 6      After the registrations of the new designs including the Subject Designs, Neman
 7   Brothers provided samples in the forms of swatch (a small piece of fabric), hanger (fabric
 8   sample with headers), and CAD (a piece of paper having the design printed upon) to the
 9   customers, who are primarily garment manufacturers, wholesalers and/or importers either
10   located in, or using the vendors in, fashion districts in Los Angeles, CA, or Shenzhen and
11   Shaoxing cities, China. Neman Brothers on a constant basis widely circulated the
12   samples, and sold the fabrics, bearing the Subject Designs. Neman Decl. ⁋14. While
13
     Neman Brothers give out swatches, hangers and CADs as samples for free to potential
14
     customers, in the case customers order a few yards, typically 1-5 yards, in order to make
15
     their garment samples, Neman Brothers charge more or less of $5 dollars per yard,
16
     depending on the quantity and the fabric type. Neman Decl. ⁋14. Neman Brothers also
17
     provide samples using multiple different colorways for each design. Neman Decl. ⁋14 -
18
     Exhibit 7.
19
        As shown in the swatch sheet, Neman Brothers creates multiple style numbers based
20
     on kind of fabric, colorways, and the design, which is to be used for communications
21
     with customers and vendors. Neman Decl. ⁋15. For Subject Design 1, Neman Brothers
22
     used 20335 as part of the style numbers. Neman Decl. ⁋15. While other part of the style
23
24
     numbers may change depending upon the fabric type and the colorways, 20335 would be

25   used to specify the design on the fabric would be the Subject Design 1. Neman Decl. ⁋15.

26      Neman Brothers sold the fabrics bearing the Subject Design 1, identified as “20335”,

27   to customers in the amount of about 143,048 yards for 2 years since the registration in

28   2017 until early 2019. Neman Decl. ⁋16 - Exhibit 8. Due to Interfocus’ infringing


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 1   activities in 2019 and 2020 of displaying and selling the Infringing Garments on its
 2   website, from the second half of 2019 and until the present, Neman Brothers did not
 3   receive the orders for the fabrics bearing the Subject Design 1. Neman Decl. ⁋16 –
 4   Exhibit 8. Given Neman Brothers typically sells the fabrics for more or less of $3 per
 5   yard, its loss of sale from the infringement amounts to $214,572 per year. Neman Decl.
 6   ⁋16. At the rate of 30% margin, Neman Brothers’ typical margin ratio, it is about $71,524
 7
     as lost profit per year, as to Subject Design 1. Neman Decl. ⁋16. Therefore, after
 8
     Interfocus infringement, Neman Brothers lost $143,048 profits for the years of 2020 and
 9
     2021. Neman Decl. ⁋16.
10
        For Subject Design 2, Neman Brothers used 20419 as part of the style numbers.
11
     Neman Decl. ⁋17 - Exhibit 9. Neman Brothers sold the fabrics bearing the Subject Design
12
     2, identified as “20419”, to customers in the amount of about 48,870 yards for 2 years
13
     mainly since the registration in 2017 until early 2019. Neman Decl. ⁋18 - Exhibit 10.
14
     Neman Brothers could sell some fabrics in 2020 and 2021 too, but the total amount
15
     compared to prior years, was minimal. Neman Decl. ⁋18 – Exhibit 10. Due to Interfocus’
16
     infringing activities in 2019 and 2020 of displaying and selling the Infringing Garments
17
18
     on its website, from the second half of 2019 and until the present, Neman Brothers did

19   not receive, except a few, the orders for the fabrics bearing the Subject Design 2. Neman

20   Decl. ⁋18 – Exhibit 10. Given Neman Brothers typically sells the fabrics for more or less

21   of $3 per yard, its loss of sale from the infringement amounts to $73,305 per year. Neman

22   Decl. ⁋18. At the rate of 30% margin, it is about $21,991.5 as lost profit per year, as to
23   Subject Design 2. Neman Decl. ⁋18. Therefore, after Interfocus infringement, Neman
24   Brothers lost $43,983 profits for the years of 2020 and 2021. Neman Decl. ⁋18.
25      For Subject Design 3, Neman Brothers used 21060 as part of the style numbers. While
26   other part of the style numbers may change depending upon the fabric type and the
27   colorways, 21060 would be used to specify the design on the fabric would be the Subject
28   Design 3. Neman Decl. ⁋19 – Exhibit 11.


                                     19
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 1      Neman Brothers sold the fabrics bearing the Subject Design 3, identified as “21060”,
 2   to customers in the amount of about 16,247 yards for 2 years since the registration in
 3   early 2018 until 2019. Neman Decl. ⁋20 - Exhibit 12. Due to Interfocus’ infringing
 4   activities in 2019 and 2020 of displaying and selling the Infringing Garments on its
 5   website, from the second half of 2019 and until the present, Neman Brothers received
 6   only a few orders for the fabrics bearing the Subject Design 3. Neman Decl. ⁋20 –
 7
     Exhibit 12. Given Neman Brothers typically sells the fabrics for more or less of $3 per
 8
     yard, its loss of sale from the infringement amounts to $24,370.5 per year. Neman Decl.
 9
     ⁋20. At the rate of 30% margin, it is about $7,311.15 as lost profit per year, as to Subject
10
     Design 3. Neman Decl. ⁋20.
11
        The above sufficiently establish Interfocus’ reasonable possibility that it had access to
12
     the Subject Designs.
13
14
     3. Plaintiff Is Entitled to Statutory Damages Against Interfocus As A Willful
15
     Infringer, Or An Innocent Infringer.
16
     (1) Interfocus As A Willful Infringer
17
             Against a willful infringer, courts may increase the award of statutory damages up
18
     to $150,000 for each design. Merely reckless behavior can support a finding of willful
19
     infringement under Copyright Act. 17 U.S.C.A. § 101 et seq. (West 2021). A finding of
20
     willful infringement under Copyright Act does not require a showing of actual
21
     knowledge; a showing of recklessness or willful blindness is sufficient. Id.
22
                   Retail company acted recklessly or with willful blindness to fabric
23
                   designer's copyright, so as to willfully infringe designer's copyright;
24                 designer presented evidence that company adopted reckless policy with
25                 regard to copyright infringement because it made no attempt to check or
26                 inquire into whether any designs it used in its apparel were subject to
27                 copyright protections, that company kept thousands of fabric swatches at
28                 its design studio that it had purchased from art studios or taken from


                                     20
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 1
                   vintage clothing remnants, that company's designers used swatches to
                   create thousands of apparel designs each year, and that company did not
 2
                   attempt to discover origin of subject design. Unicolors, Inc. v. Urban
 3
                   Outfitters, Inc., 853 F.3d 980, 991-92 (9th Cir. 2019).
 4
 5          In this case, Interfocus had reviewed, liked, ordered, tested, uploaded and sold
 6   the Infringing Garments 1 and 2 after the knowledge about the Subject Designs 1 and
 7   2, at least through the Prior Case. Interfocus’ Operations Director Weiwei Le admitted
 8   she was in charge of legal issues by working closely with the U.S. attorneys and also in
 9   charge of operations of the Interfocus website patpat.com during the last five years which
10   period include the time for the Prior Case. Moreover, Interfocus response to
11   Interrogatories admitted Interfocus reviews and picks the garments, and controls the
12   procedure of uploading, displaying and selling the garments. Jeong Decl. ⁋36–37. In the
13
     ordinary procedures, Interfocus orders the garments it “likes” after it reviews the sample
14
     pictures, and do the quality inspection, and start sales of the garments. Jeong Decl. ⁋36;
15
     Exhibit 42, Responses to Interrogatory No. 6. Interfocus further admitted it controlled the
16
     display procedure of the garments by stating Interfocus’ vendors do not upload the
17
     information relating to the Infringing Garments. Jeong Decl. ⁋37; Exhibit 42, Responses
18
     to Interrogatory No. 7.
19
          In addition, as discussed above, the comparisons of the care tags of the Prior
20
     Infringing Garments 1 and 2 with the same of the Infringing Garments 1 and 2 show the
21
     Infringing Garments at issue in this case are not part of the prior production of the Prior
22
     Infringing Garments. Neman Decl. ⁋34; Exhibits 39 and 40. It was a new production that
23
     happened in July 2020, which procedure started from May 2020 which was less than two
24
25   months after the settlement on March 23, 2020 in the Prior Case. Neman Decl. ⁋34;

26   Exhibits 39 and 40.

27        The above clearly shows Interfocus soon after signing the Prior Settlement

28   Agreement on March 23, 2020, promptly started the sampling procedure, reviewed the


                                     21
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 1   samples of the Infringing Garments 1 and 2, ordered them again as Interfocus liked it in
 2   May 2020 (Exhibits 39 and 40), uploaded the garment pictures with the information on
 3   the website on July 1, 2020 for Infringing Garment 1 and June 19, 2020 for Infringing
 4   Garment 2 and sold them until September 16, 2020. Exhibit 33. Even worse, it turned out
 5   the Interfocus continued to sell the Prior Infringing Garment 1 and the Prior Infringing
 6   Garment 2 even after the Prior Settlement until September 2020. Jeong Decl. ⁋38; Exhibit
 7
     33.
 8
           The above shows it is undisputed soon after the settlement of the Prior Case where
 9
     the Subject Designs 1 and 2 were litigated, Interfocus again reviewed, chose, ordered,
10
     uploaded, displayed and sold the Infringing Garments 1 and 2, which sufficiently
11
     establishing more than mere reckless disregard or willful blindness. It was knowing and
12
     intentional misconducts.
13
           Even as to Subject Design 3, Interfocus should be found to be a willful infringer
14
     under Unicolors v. Urban Outfitters. In response to the interrogatory asking about
15
     preventive measures Interfocus has taken, Interfocus stated Interfocus takes down the
16
     garments after receiving notices, which is not a “preventive” measure at all. Exhibit 42,
17
18
     Response to Interrogatory No. 18. Interfocus also stated in its response that it requires

19   vendors to license its intellectual property to Interfocus. Again, it at the best means only

20   if a vendor has an intellectual property, it would have to license it to Interfocus, which

21   has nothing do to with reasonable preventive measure such as checking on the source of

22   the design on the samples when reviewing and before making an order. In the discovery,
23   Interfocus never produced any evidence showing such reasonable efforts. Jeong Decl.
24   ⁋41. The sampling procedure explained in Interfocus responses in fact admits it simply
25   review, like and then order. Exhibit 42, Response to Interrogatory No. 6. There is no
26   checking on copyright issues. Rather, even after knowing on the copyright issues,
27   Interfocus would dare to order again, and display and sell online again. It is exactly what
28   the Nineth Circuit Court called “willful blindness”, “reckless policy”, and “no attempt to


                                      22
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 1   check or inquire” into copyright issues.
 2        Accordingly, for Subject Designs 1, 2 and 3, the maximum statutory damages in the
 3   total amount of $450,000 should be given to Neman Brothers.
 4
 5   (2) Interfocus As An Innocent Infringer
 6           A copyright owner may seek statutory damages in lieu of actual damages any time
 7   before the court renders its final judgment. 17 U.S.C.A. § 504(c) (West 2019). The
 8   statutory damages awarded do not need to coincide with the actual dollar loss caused
 9   by the infringement. Lowry's Reports, Inc. v. Legg Mason, Inc., 302 F. Supp. 2d 455 (D.
10   Md. 2004). The factors to be considered by the court in awarding statutory damages

11   include: “(1) expenses saved and profits reaped by the defendant, (2) revenues lost by the

12   plaintiffs, (3) the deterrent value of the award, and (4) whether the infringement was

13   willful or innocent.” Broadcast Music, Inc. v. C.B.G., Inc., 2013 WL 6074121, at *4 (D.

14   Mass. 2013) (quoting Polygram Intern. Pub., Inc. v. Nevada/TIG, Inc., 855 F. Supp.
     1314, 1335 (D. Mass. 1994)).
15
16          A judge, in his discretion, may award between $750.00 and $30,000.00 as
17   statutory damages for all infringements involved in the suit for any one work against any
18   infringer absent a showing of willful infringement. 17 U.S.C.A. § 504(c)(1) (West 2021).
19          In this case, Interfocus produced only a self-serving chart made after receiving the
20   cease and desist letter in September 2020, in anticipation of a litigation, which is nothing
21   but a hearsay. In response to the interrogatories asking for accounting the total sales,
22   earnings and costs, Interrogatory stated it would produce charts. Exhibit 42, Responses to
23
     Interrogatories 11 and 12. Interfocus never produced any real business records, such as
24
     purchase order, invoice, or sales reports from the sales record keeping system. Jeong
25
     Decl. ⁋42. A defendant’s refusal to state the volume and profits arising from alleged
26
     infringing activities during discovery supports a higher amount of statutory damages. See
27
28


                                     23
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 1   Dive N’Surf, Inc. v. Anselowitz, 834 F. Supp. 379, 383 (M.D. Fla 1993) (awarding
 2   maximum statutory damages to defendants who refused to provide sales information).
 3            Therefore, if the Court finds Interfocus is merely an innocent infringer as to any of
 4   the Subject Designs, at least the maximum statutory damage in the amount of $30,000 for
 5   the individual design should be given to Neman Brothers.
 6
 7
 8                                       IV.     CONCLUSION

 9            For all of the above reasons, a summary judgment should be granted for Plaintiff
10   Neman Brothers and against Defendant Interfocus.
11            Alternatively, if this Court determines that summary judgment is inappropriate,
12   Plaintiff respectfully requests that the Court summarily adjudicate the following issues:
13            1. Plaintiff is the owner of the Subject Designs:
14            2. Defendant copied the Subject Designs;
15            3. Plaintiff is entitled to statutory damages in the amount of $450,000 against
16
                 Defendant as a willful infringer, and/or an innocent infringer.
17
              Plaintiff is entitled to recover its attorney’s fees. Once Plaintiff’s Motion for
18
     Summary Judgment is granted, the moving party will file a separate motion for attorney
19
     fees.
20
21   Dated: July 26, 2021
22                                                        Respectfully submitted,
                                                         _/s/Chan Yong Jeong______
23
                                                          Chan Yong Jeong, Esq.
24                                                        Attorney for Plaintiff
25
26
27
28


                                        24
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